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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

FARM BUREAU MUTUAL INSURANCE,            )
COMPANY OF MICHIGAN, a Michigan          ) Case No. 17-cv-14044
Corporation, a/s/o New Flevo Dairy, Inc. )
                                         ) Judge Bernard A. Friedman
     Plaintiff,                          ) Magistrate Judge Elizabeth A.
                                         ) Stafford
v.                                       )
                                         )
                                         )
CNH INDUSTRIAL AMERICA, LLC d/b/a        )
CNH INDUSTRIAL AMERICA, LLC D/B/A        )
NEW HOLLAND AGRICULTURE, a Wisconsin )
Corporation,                             )
                                         )
     Defendant.                          )
__________________________________________________________________

              DEFENDANT’S MOTION TO EXCLUDE OPINIONS
                OF PLAINTIFF’S EXPERT JERRY DAHL, P.E.

        Defendant CNH Industrial America, LLC (“CNH”), through its counsel

Frost Brown Todd, LLC, and Clark Hill PLC, and pursuant to Federal Rule of

Evidence 702, moves for entry of an order excluding the opinions of Plaintiff’s

expert, Jerry Dahl, regarding the origin and cause of the fire and regarding alleged

design defects in the Tractor that is the subject matter of this litigation. In further

support of this Motion, CNH relies upon the attached brief in support.

        In accordance with Local Rule 7.1(a), counsel for CNH certifies that on

November 29, 2018, an email was sent to counsel for Farm Bureau advising that

the CNH intended to file the foregoing motion and seeking concurrence. As of the


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time of filing, counsel for CNH has not received a response and therefore there is

no concurrence.

Dated: November 30, 2018                    Respectfully Submitted,

                                            s/Bethany G. Stawasz
                                            David W. Centner (P43071)
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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

FARM BUREAU MUTUAL INSURANCE,            )
COMPANY OF MICHIGAN, a Michigan          ) Case No. 17-cv-14044
Corporation, a/s/o New Flevo Dairy, Inc. )
                                         ) Judge Bernard A. Friedman
     Plaintiff,                          ) Magistrate Judge Elizabeth A.
                                         ) Stafford
v.                                       )
                                         )
                                         )
CNH INDUSTRIAL AMERICA, LLC d/b/a        )
CNH INDUSTRIAL AMERICA, LLC D/B/A        )
NEW HOLLAND AGRICULTURE, a Wisconsin )
Corporation,                             )
                                         )
     Defendant.                          )
__________________________________________________________________

      BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO EXCLUDE
         OPINIONS OF PLAINTIFF’S EXPERT JERRY DAHL, P.E.




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                              ISSUE PRESENTED
        Whether the fire origin and cause opinions and design defect opinions of

Plaintiff’s expert Jerry Dahl, P.E., should be excluded, where Mr. Dahl concedes

that he lacks the qualifications and competence to offer origin and cause opinions,

and his design defect opinions are wholly dependent on his inadmissible origin

opinions.




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        This case arises out of a fire on a 2014 New Holland Model T8.390 tractor

(the “Tractor”) that occurred on September 30, 2015 in Clayton, Lenawee County,

Michigan. In this subrogation action, Plaintiff Farm Bureau Mutual Insurance

Company (“Farm Bureau”) seeks to recover for damage to its insured’s tractor.

Plaintiff has identified Jerry Dahl, P.E., of Nederveld, Inc. as an expert. He has

submitted a Rule 26 Report, which contains opinions regarding the origin and

cause of the fire, as well as design defect opinions. (Exh. 1, Dahl Rule 26 Report).

In his deposition, however, Mr. Dahl said that he is not an expert in fire

investigations or the origin and cause of fires. (Exh. 2, Dahl Dep. p. 41-43, 75,

210). He explained that the cause and origin opinions in the Rule 26 Report were

devised by a colleague at Nederveld, James Smith, who has since left the company.

(Exh. 2, Dahl Dep., p. 49-50). Mr. Smith, unlike Mr. Dahl, is a Certified Fire and

Explosion Investigator and a Certified Vehicle Fire Investigator. (Exh. 2, Dahl

Dep., p. 41). Although Mr. Smith signed the Rule 26 Report along with Mr. Dahl,

Mr. Smith has not been designated as a testifying expert. By his own admission,

Mr. Dahl is not qualified to offer expert testimony about the origin and cause of the

fire and he should not be permitted to offer opinions – whether his own or those of

Mr. Smith – on those issues.

        Mr. Dahl’s opinions regarding alleged design defects in the Tractor should

also be excluded because they are wholly grounded on his inadmissible origin and



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causation opinions. Farm Bureau has designated another expert, William Wilson,

who places the origin of the fire in a different location, which renders Mr. Dahl’s

design defect opinion irrelevant and of no assistance to the jury in determining any

fact in issue.

        I.       BACKGROUND
        Alfredo Bernal was operating the Tractor with an attached deep digger

implement on September 30, 2015 when he smelled smoke. (Exh. 3, Bernal Dep.,

p. 23). He turned off the engine, descended from the cab and observed smoke and

then flames coming from the Tractor. (Exh. 3, Bernal Dep., p. 23-24). Jake Schot,

who was driving nearby in the field, approached and mounted the Tractor, started

the diesel engine and drove the Tractor several hundred feet to a low area of the

field where he thought there was pooled water he could drive into to extinguish the

fire. (Exh. 4, Wilson Rule 26 Report, p. 3). He found no water, so he stopped the

engine and got out. (Exh. 4, Wilson Rule 26 Report, p. 3). The fire continued to

burn and ultimately consumed the Tractor entirely.

        Farm Bureau has identified two experts, Mr. Dahl and Mr. Wilson. Both

have expressed opinions about the origin and cause of the fire. Their opinions

about the origin of the fire conflict with one another. Mr. Dahl states that the fire

originated on the right side of the cab, in an area between the selective catalytic

reduction (SCR) catalyst canister and the high-density polypropylene diesel fuel

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tank, behind the exhaust inlet pipe that feeds into the SCR canister. (Exh. 1, Dahl

Rule 26 Report, p. 2). Mr. Wilson believes the fire originated in front of the

exhaust inlet pipe in an area between the SCR canister and a removable shield that

extends across the front of the canister. (Exh. 4, Wilson Rule 26 Report, p. 6).

          Their opinions about the cause of the fire diverge as well. While both

believe that crop debris near the SCR canister ignited, Mr. Dahl believes that

ignition was caused either by direct contact with the canister or the exhaust inlet

pipe, or by exposure to radiant or conductive heat transfer from those surfaces.

(Exh. 1, Dahl Rule 26 Report, p. 2). Mr. Wilson believes that the debris ignited

after undergoing the process of pyrolysis which lowered the ignition point of the

debris, allowing it to catch fire. (Exh. 4, Wilson Rule 26 Report, p. 6-7). Neither

expert has produced evidence of testing or accepted literature showing that the

implicated components of the Tractor reach temperatures sufficient to ignite crop

debris.

          II.   LEGAL STANDARD
          Under the Federal Rules of Evidence and Daubert, trial courts must serve as

“gatekeepers” to keep unreliable and speculative testimony out of trial. Federal

Rule of Evidence 702 provides:

          A witness who is qualified as an expert by knowledge, skill,
          experience, training, or education may testify in the form of an
          opinion or otherwise if:
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        (a)   the expert's scientific, technical, or other specialized knowledge
              will help the trier of fact to understand the evidence or to
              determine a fact in issue;
        (b)   the testimony is based on sufficient facts or data;
        (c)   the testimony is the product of reliable principles and methods;
        and
        (d)   the expert has reliably applied the principles and methods to the
              facts of the case.


Fed. R. Evid. 702. In Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S.

579, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993), and Kumho Tire Co. v. Carmichael,

526 U.S. 137, 119 S.Ct. 1167, 143 L.Ed.2d 238 (1999), the Supreme Court set

forth the standard for admissibility of expert testimony under Federal Rule of

Evidence 702. The Court's “requirement that ‘any and all scientific testimony or

evidence admitted [be] not only relevant, but reliable,’ ‘entails a preliminary

assessment of whether the reasoning or methodology underlying the testimony is

scientifically valid and of whether that reasoning or methodology properly can be

applied to the facts in issue.’” Sigler v. American Honda Motor Co., 532 F.3d 469

(6th Cir. 2008) (quoting Daubert, 509 U.S. at 589, 592–93, 113 S.Ct. 2786)

(internal citation omitted). “In short, under Daubert and its progeny, a party

proffering expert testimony must show by a ‘preponderance of proof’ that the

expert whose testimony is being offered is qualified and will testify to scientific

knowledge that will assist the trier of fact in understanding and disposing of”

relevant issues. Pride v. BIC Corp., 218 F.3d 566, 578 (6th Cir. 2000).

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        III.   ARGUMENT

               a.   By his own admission, Mr. Dahl is not qualified to offer
                    opinions about the origin and cause of the fire.
        Mr. Dahl has a Bachelor’s and Master’s degree in Mechanical Engineering

from Washington University and holds a professional engineering license in

Missouri, Michigan and South Dakota. (Exh. 2, Dahl Dep., p. 24-25, 34). He is

employed by Nederveld, Inc., which, he explained, “provide[s] a variety of

engineering services, civil engineering services, land planning development,

surveying, and the segment I'm involved with, forensic engineering and fire

investigation.” (Exh. 2, Dahl Dep., p. 17). When Farm Bureau first retained

Nederveld for this case, the matter was assigned to Dr. James Smith. (Exh. 2, Dahl

Dep., p. 49-50). Mr. Dahl did not become involved until June 2018, when Dr.

Smith announced his intention to leave Nederveld and the matter was reassigned to

Mr. Dahl. (Exh. 2, Dahl Dep., p. 49-50). Dr. Smith had already drafted a Rule 26

Report before Mr. Dahl became involved in the case. (Exh. 2, Dahl Dep., p. 55).

Mr. Dahl reviewed the file, conferred with Dr. Smith and determined what needed

to be done to finalize the Report. (Exh. 2, Dahl Dep., p. 49-51). Indeed, Mr. Dahl

never conducted a scene inspection or a product inspection, both of which Dr.

Smith completed before his departure from Nederveld. (Exh. 2, Dahl Dep., p. 48-

49).    Mr. Dahl’s contribution to the Report was the addition of the second

paragraph on page two regarding a purported alternative design of the location of
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the SCR canister; the rest of the Report was prepared by Dr. Smith. (Exh. 2, Dahl

Dep., p. 55).

        Mr. Dahl testified in his deposition that, although he is “comfortable”

testifying to everything contained in the Report, he does not feel qualified and

competent to offer the opinions Dr. Smith provided:

                Q.· The portions that [Dr. Smith] provided, he's not here to
                · · ·testify. Do you feel qualified and competent to offer
                · · ·those same opinions that he was providing to the
                · · ·report?

                A.· No.

                ***

                Q.· Okay. And, in particular, it looks like he is a
                · · ·certified fire investigator, he's a certified vehicle
                · · ·fire investigator, and he's also a master automotive
                · · ·technician. Those are certifications or
                · · ·qualifications that you don't possess, is that
                · · ·correct?

                A.· ·Correct.

                Q.· ·So as far as investigating the cause of the fire and
                · · ·certain aspects of the origin of the fire, are those
                · · ·areas that you would have to leave to others to offer
                · · ·those opinions?

                A.· Yes.

(Exh. 2, Dahl Dep., p. 41).          Under further questioning, Mr. Dahl expressly

disclaimed expertise in the areas of the origin and cause of fires:

                Q.· Do you consider yourself an expert in fire cause and
                                              6

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              · · ·origin?

              A.· ·No.

              Q.· Do you consider yourself an expert in fire dynamics
              · · ·and how fires spread?

              A.· No.

              Q.· Do you consider yourself an expert in heat transfer
              · · ·from one side of a material to another?

              A.· No.

              Q.· Do you consider yourself an expert in ignition
              · · ·temperatures of particular types of materials?

              A.· ·No.

(Exh. 2, Dahl Dep., p. 43).

              ***

              Q.· Do you consider yourself an expert in evaluating and
              · · ·reaching conclusions based on burn patterns?

              A.· No.

              Q.· Are you familiar with burn patterns?·Do you see them
              · · ·in other cases?

              A.· Yes.

              Q.· If there is a V burn pattern, does that tell you
              · · ·anything?

              A.· Oftentimes, V patterns are used by fire investigators
              · · ·to locate an origin.

              Q.· But as far as interpreting those V patterns, you would
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              · · ·leave that to others?

              A.· That's correct.

(Exh. 2, Dahl Dep., p. 75). During his deposition, when asked whether he could

eliminate other potential origin locations, he replied “Let me stop. I am not a fire

investigator. I did not determine the origin.” (Exh. 2, Dahl Dep., p. 210).

        Courts in this Circuit and others have excluded testimony from experts on

matters in which the expert admits he does not possess the requisite knowledge,

skill, experience, training or education. Avendt v. Covidien Inc., 314 F.R.D. 547,

561 (E.D. Mich. 2016) (excluding opinion of respected clinician and surgeon who,

by his own admission, lacked expertise in the material or biomechanical science of

crosslinking and had to rely on other experts in that area); Thorn v. Novartis

Pharmaceuticals Corp., 2013 WL 11451758 (E.D. Tenn. June 26, 2013)

(excluding testimony regarding origin and nature of plaintiff’s cancer, which

would require scientific and specialized knowledge that physician expert conceded

he did not possess); Long v. Monaco Coach Corp., 2007 WL 4613000, at *5-6

(E.D. Tenn. Sept. 27, 2007) (excluding expert offered to value motor coaches who

“testified repeatedly that he was not an expert in the field of valuation”); In re

Baycol Prods. Litig., 532 F.Supp.2d 1029, 1047 (“…[if proffered expert] admits he

is not qualified to provide opinions about a drug’s comparative safety, such

testimony is excluded under Daubert”).

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        The fact that Mr. Dahl is relying on the opinions of his former colleague Dr.

Smith, who may be qualified to offer fire origin and cause opinions, does not

render Mr. Dahl’s testimony admissible. See, Sigler v. American Honda Motor Co.,

532 F.3d 469 (6th Cir. 2008). In Sigler, the Sixth Circuit affirmed the exclusion of

accident reconstruction opinions from an expert who, although qualified as a

vehicle mechanic expert, did not have reconstruction expertise. The expert claimed

that he had been assisted in developing his reconstruction opinions by a former

state trooper who was so qualified. In excluding the opinions, the District Court

had noted that the expert’s reliance on the expertise of another “only underscored

the impropriety of [his] evidence as an expert on issues pertaining to accident

reconstruction….” Id. at 479. The Court further explained:

              [a] theoretical economist, however able, would not be
              allowed to testify to the findings of an econometric study
              conducted by another economist if [the theoretical
              economist] lacked expertise in econometrics and the
              study raised questions that only an econometrician could
              answer. If it were apparent that the study was not cut and
              dried, the author would have to testify; he could not hide
              behind the theoretician.

Id. (quoting Dura Automotive Systems of Indiana, Inc. v. CTS Corp., 285 F.3d 609,

614 (7th Cir. 2002)). Mr. Dahl admitted that he lacks the expertise of his former

colleague Dr. Smith and, although he agrees with Dr. Smith’s opinions, he also

agrees that he is not qualified to offer them.


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As the Court recognized in Sigler, an expert in one area cannot testify to the

opinions of another expert that are outside the first expert’s area of expertise. Thus

only Dr. Smith can offer the origin and cause opinions that he developed. Because

Mr. Dahl candidly conceded that he lacks the qualifications and expertise to give

opinions about the origin and cause of the fire, he should be precluded from

presenting any such opinions at trial.

              b.    Mr. Dahl’s design defect opinion is derivative of his origin
                    and cause opinions; because he is not competent to offer
                    origin and cause opinions, his design defect opinion is
                    irrelevant and must be excluded.
        Mr. Dahl concludes that the design of the T8.390 tractor is defective because

it “does not prohibit organic matter from entering the space surrounding the SCR

catalyst.” (Exh. 1, Dahl Rule 26 Report, p. 2). Moreover, he says that the design

does not allow reasonable access to clean the location between the SCR canister

and the fuel tank behind the inlet pipe, which he points to as the point of the fire’s

origin. (Exh. 1, Dahl Rule 26 Report, p. 2). He notes that the polypropylene fuel

tank wraps around the side and rear portions of the oval shaped SCR canister.

(Exh. 2, Dahl Dep., p. 105). There are approximately two inches between the fuel

tank and the canister, and within that two-inch gap there is an insulating blanket

against the fuel tank composed of a reflective panel and fabric insulation and

backing. (Exh. 2, Dahl Dep., p. 105). He contends that the gap between the SCR

canister and the insulating blanket allowed debris to accumulate in that area where
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it was unable to self-clean. (Exh. 2, Dahl Dep., p. 113). This, in turn he says,

allowed debris that fell in that area to impede the release, through convection or

conduction, of radiant heat from the canister. (Exh. 2, Dahl Dep., p. 69-72). He

posits that radiant heat that becomes trapped in compacted debris can form a

combustion pocket that reaches temperatures higher than that of the radiating

surface. (Exh. 2, Dahl Dep., p. 70-71). According to Mr. Dahl, this can cause the

accumulated debris to ignite without ever contacting the canister surface. (Exh. 2,

Dahl Dep., p. 69-72). Mr. Dahl states that the Tractor’s design is defective because

it allows crop debris to accumulate between the SCR canister and the fuel tank,

where air flow is impeded, and combustion pockets capable of igniting the debris

can form. (Exh. 1, Dahl Rule 26 Report, p. 2).

        Mr. Dahl’s design defect opinion is based on two assumptions: (1) that the

fire originated between the SCR canister and the fuel tank, to the rear of the inlet

pipe, and (2) that compacted debris and lack of airflow in that area allowed radiant

heat from the canister to form high temperature combustion pockets that ignited

the debris. The only evidence in the record supporting these assumptions is Mr.

Dahl’s opinion testimony about the origin and cause of the fire – testimony that he

candidly admits he is not qualified by education, training or expertise to give.

        His design defect opinion loses all relevance if the fire’s origin is assumed to

be in front of SCR canister, as advanced by Farm Bureau’s origin expert, Mr.

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Wilson. The front of the SCR canister is not adjacent to the fuel tank. (Exh. 2,

Dahl Dep., p. 104-105). Instead, there is a removable shield that has a gap at the

bottom – which Mr. Dahl refers to as a mail slot – through which debris can fall

out and air can circulate. (Exh. 2, Dahl Dep., p. 112). Unlike the rear area between

the canister and fuel tank, where accumulated debris cannot be seen, removing the

front shield allows access to accumulated debris in front of the canister. (Exh. 2,

Dahl Dep., p. 117-118). Moreover, the mail slot at the base of the front shield

allows a convective air current to travel through that compartment and up to the

opening at the top. (Exh. 2, Dahl Dep., p. 176-177). Consequently Mr. Dahl would

not expect convection reduction to elevate the temperature of the exhaust

components on the front side of the canister. (Exh. 2, Dahl Dep., p. 213-214).

        “Rule 702 restates Daubert 's insistence on the requirements that an expert's

opinion be based on a foundation grounded in the actual facts of the case, that the

opinion is valid according to the discipline that furnished the base of special

knowledge, and that the expert appropriately “fits” the facts of the case into the

theories and methods he or she espouses. (internal citation omitted)” Marathon

Petroleum Co. LP v. Midwest Marine, Inc., 906 F.Supp.2d 673, 684 (E.D. Mich.

2012) (Emphasis added.) “In addition, expert testimony is not admissible unless it

will be helpful to the fact finder. Such testimony is unhelpful when it is unreliable

or irrelevant, as the Court observed in Daubert….” Id. Mr. Dahl’s design defect

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opinion is grounded on an origin and causation theory that his former colleague Dr.

Smith devised, but Dr. Smith is not designated as an expert in this case. Mr. Dahl

adopted and espoused that theory in his deposition, but by his own admission he is

not qualified to give that opinion. Farm Bureau’s other expert, Mr. Wilson, has

offered a different origin and cause theory, but Mr. Dahl’s design defect opinion

does not “fit” Mr. Wilson’s theory. As such, Mr. Dahl’s design defect opinion has

no foundation in any admissible factual or expert evidence, is merely theoretical,

and will not assist the jury in determining any fact at issue. Mr. Dahl’s design

defect opinion should be excluded.

                                  CONCLUSION
        Mr. Dahl concedes that the fire cause and origin opinions contained in his

Rule 26 Report were developed by a former colleague who possesses expertise in

the field of fire investigation that Mr. Dahl does not have. Because Mr. Dahl, by

his own admission, is not qualified or competent to offer the opinions about the

origin or cause of the Tractor fire devised by his colleague, his testimony on those

subjects should be excluded.

        Mr. Dahl’s design defect opinion specifically pertains to the origin location

opinion that must be excluded. Because Farm Bureau’s other expert places the

origin of the fire in a different location, Mr. Dahl’s design defect opinion is



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irrelevant, will not assist the jury in determining any fact in issue, and should be

excluded.

Dated: November 30, 2018                    Respectfully Submitted,

                                            s/Bethany G. Stawasz
                                            David W. Centner (P43071)
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                                            and
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                                            Jessica Williams Schnelker (pro hac
                                            vice)
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                          CERTIFICATE OF SERVICE
        I hereby certify that on November 30, 2018, my assistant, Alyssa Theisen,

electronically filed the foregoing paper with the Clerk of the Court using the ECF

system which will send notification of such filing to all registered counsel.

                                               s/Bethany G. Stawasz
                                               Bethany G. Stawasz (P75578)
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